     Case 4:19-cv-00129 Document 23-1 Filed on 05/15/19 in TXSD Page 1 of 1



                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                                                   Case No.: 4:19-cv-00129
                          Plaintiff,

v.                                                 JURY TRIAL DEMANDED

DOES 1- 150,

                          Defendants.



                              ORDER OF DISMISSAL WITHOUT PREJUDICE


       Plaintiff has filed a Notice of Dismissal Without Prejudice against all remaining Does (Dkt.

No. 23). In accordance with that Notice and Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, the Complaint has been DISMISSED WITHOUT PREJUDICE. This Notice shall

not affect any previous dismissals in this action, whether they were made with or without

prejudice. Accordingly, the Clerk is directed to CLOSE the case and terminate all other motions

pending in this matter.

       SO ORDERED AND ADJUDGED this the ____ day of _________, 2019.


                                                     ____________________________________
                                                     UNITED STATES DISTRICT JUDGE
